Case 16-51133   Doc 134-2   Filed 03/16/17   Entered 03/16/17 10:32:50   Page 1 of 11




                                                    Exhibit B
Case 16-51133   Doc 134-2   Filed 03/16/17   Entered 03/16/17 10:32:50   Page 2 of 11
Case 16-51133   Doc 134-2   Filed 03/16/17   Entered 03/16/17 10:32:50   Page 3 of 11
Case 16-51133   Doc 134-2   Filed 03/16/17   Entered 03/16/17 10:32:50   Page 4 of 11
Case 16-51133   Doc 134-2   Filed 03/16/17   Entered 03/16/17 10:32:50   Page 5 of 11
Case 16-51133   Doc 134-2   Filed 03/16/17   Entered 03/16/17 10:32:50   Page 6 of 11
Case 16-51133   Doc 134-2   Filed 03/16/17   Entered 03/16/17 10:32:50   Page 7 of 11
Case 16-51133   Doc 134-2   Filed 03/16/17   Entered 03/16/17 10:32:50   Page 8 of 11
Case 16-51133   Doc 134-2   Filed 03/16/17   Entered 03/16/17 10:32:50   Page 9 of 11
Case 16-51133   Doc 134-2   Filed 03/16/17 Entered 03/16/17 10:32:50   Page 10 of
                                        11
Case 16-51133   Doc 134-2   Filed 03/16/17 Entered 03/16/17 10:32:50   Page 11 of
                                        11
